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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

 IN RE: OIL SPILL by the OIL RIG               §               MDL-2179
        “DEEPWATER HORIZON”                    §
       in the GULF OF MEXICO, on               §
        APRIL 20, 2010                         §               SECTION “J”
                                               §
 THIS DOCUMENT RELATES TO:                     §               JUDGE BARBIER
                                               §               MAG. JUDGE SHUSHAN
        10-cv-3059 and 11-cv-0516              §

*********************************************************************************************

                STATE OF LOUISIANA’S RESPONSE TO PSC’S REPLY
                   IN SUPPORT OF ITS MOTION TO ESTABLISH
               ACCOUNT AND RESERVE FOR LITIGATION EXPENSES


       NOW INTO COURT, through undersigned counsel, comes the Plaintiff, the State of

Louisiana through James D. “Buddy” Caldwell, Louisiana Attorney General (“Louisiana” or

“State”), who files this Response to the Reply Brief in Further Support of the PSC’s Motion to

Establish Account and Reserve for Litigation Expenses filed on November 23, 2011 [Rec. Doc.

4717]. On November 21, 2011, consistent with this Court’s Order of November 10, 2011, the

State of Louisiana filed its Response to the PSC’s Motion to Establish Account and Reserve for

Litigation Expenses and its attached Order. [Rec. Doc. 4507]

       The State of Louisiana’s Response asserted no objection to the proposed Order

Establishing Court-Supervised Account and Reserve for Common Benefit Litigation Expenses

[Rec. Doc. 4507-2], which was submitted in connection with the Motion to Establish Account

and Reserve for Litigation Expenses, because the Order, as drafted, did not contemplate a

deduction from the recoveries of the State of Louisiana in order to fund the reserve account, but

instead proposed to order the Defendants to pay into the reserve account, an amount over and
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above, and in addition to, amounts paid to the State. See State of Louisiana’s Response to the

Motion to Establish Account and Reserve for Litigation Expenses [Rec. Doc. 4687]. The

Defendants that opposed the PSC’s Motion interpreted the Order in the same way.1                  The State

did not and does not object to the proposed Order as read by the State and certain Defendants, to

require that Defendants deposit the equivalent of 4% of any settlement, judgment or payments

with the State of Louisiana into a reserve for potential payment of common benefit fees as are

appropriate under the circumstances.             However, without filing an amended Order for

consideration, the PSC instead filed a Reply Brief in Further Support of the PSC’s Motion to

Establish Account and Reserve for Litigation Expenses that set forth its rather novel

interpretation of the submitted Order. [Rec. Doc. 4717] The State specifically objects to and

opposes this proposed “interpretation” of the Order currently before the Court as being

inconsistent with the Order as written.

        As stated above, the PSC’s Reply, instead of seeking to submit changes in the written

language of the proposed Order associated with its initial Motion to Establish Account and

Reserve for Litigation Expenses, instead sets forth an expansive interpretation of that proposed

Order. Specifically, the PSC’s Reply asserts, in part, that:

                The Proposed Order Does Not “Shift” Attorneys Fees to
                Defendants
                        While the defendants might ultimately be responsible to
                Plaintiffs for attorneys’ fees under one or more fee-shifting
                provisions, the Proposed Order does not compel the defendants to


1
  See Halliburton Energy Services, Inc.'s Ex Parte Motion To Join In And Adopt The Arguments Made In The
Weatherford Entities' Memorandum In Opposition To The PSC's Motion To Establish Account And Reserve For
Litigation Expenses [Rec. Doc. 4668]; Weatherford U.S., L.P. And Weatherford International, Inc.’s Memorandum
In Opposition To The PSC’s Motion To Establish Account And Reserve For Litigation Expenses [Rec. Doc. 4660];
State Of Louisiana’s Response To The Motion To Establish Account And Reserve For Litigation Expenses [Rec.
Doc. 4687]; BP’s Objections To The PSC’s Hold Back Motion To Establish Account And Reserve For Litigation
Expenses [Rec. Doc. 4696].




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                 fund the hold-back reserve fund over and above the plaintiff’s
                 recovery. Rather, the Order, as proposed, affords the parties the
                 flexibility to negotiate a resolution whereby either the defendant
                 agrees to fund the reserve over and above the settlement amount,
                 or the entire reserve is “held back” out of the settlement amount -
                 or where the reserve is funded on a shared basis. Nothing in the
                 Order, as proposed, would require a defendant to pay attorneys’
                 fees.2

Reply Brief in Further Support of the PSC’s Motion to Establish Account and Reserve for

Litigation Expenses, pp. 2-3 [Rec. Doc. 4717].               The State should not be required to respond to

an “interpretation” of a submitted order, especially where the interpretation proposes alternative

deposits: first by the Defendants and, failing that, deposits out of State recoveries, where no such

language appears in the Order. It is clear that there is current controversy over the scope of the

Order itself. Rather than having the current Order signed or not signed, it is respectfully

submitted that a preferable course of action would be to require the PSC to re-submit its request

and provide a new order that appropriately addresses issues raised by the PSC’s Reply. At that

time, the State can respond to the new order and any associated proposal that Defendants hold

back a reserve out of recoveries owed to the State of Louisiana for an award of common benefit

fees.3

         The PSC’s proposed interpretation of the Order it submitted as requiring Defendants to

deduct a percentage from Louisiana’s recoveries raises, but does not address or resolve, issues



2
  To be sure: The PSC will, of course, attempt to negotiate settlement with one or more Defendants wherein the
Defendants agree to pay common benefit fees (and/or other attorneys’ fees) over and above the settlement corpus as
part of the terms of the negotiated settlement. In the event, however, that Defendants are not willing to voluntarily
fund the reserve out of their own pockets, the reserve (absent a final judgment requiring Defendants to pay some or
all attorneys’ fees) would be “held back” out of the judgment, settlement or other payment to the plaintiff.
3
  Additionally, while the Order as initially submitted by the PSC might incentivize Defendants to pay common
benefit fees and costs over and above the amounts paid in settlements, judgments and/or payments to parties, the
paradigm described by the PSC in its Reply (which gives Defendants the option to voluntarily pay common benefit
fees over and above the amounts they pay in settlements, judgments or payments) actually vitiates any incentive for
(or any perceived obligation of) the Defendants to ever agree to pay such costs and fees “out of their own pockets”
and “voluntarily.” According to the PSC, a Defendant can avoid making payment of such costs and fees simply by
deciding not to do so.


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such as (but not limited to): (1) the deduction from recoveries which may be exempt from a

claim for common benefit or contingency fees under applicable and established law; (2) the

proposed method of assessment, if any, of a fee or percentage from a State recovery that is non-

monetary in nature; (3) the applicability or non-applicability of the proposed Order to future

payments made to the State on settlements that were confected prior to November 7, 2011 (the

date contained in the PSC’s proposed Order); and (4) the prospect of a possible transfer of

money out of State Treasury Fund accounts. Because the PSC’s proposed interpretation of the

Order submitted in connection with its Motion to Establish Account and Reserve for Litigation

Expenses would attempt to directly assess State recoveries, all of these issues (which are not

raised if the Defendants are paying a percentage on top of the State’s recovery) need to be

explicitly addressed in a proposed Order.

       Without an order specifically contemplating each of these scenarios, the State of

Louisiana is not properly on notice of and cannot adequately respond with its positions, which

may include positions already taken in the State of Louisiana’s prior filings with this Court and

with the Court of Appeals for the Fifth Circuit in connection with the State of Louisiana’s

petition for mandamus relief. See, e.g., Motion and Memorandum for Leave to Request Creation

of Separate Government Case Track and to Appoint Liaison Counsel [Rec. Doc. 248]; Ex Parte

Motion for Hearing on Motion for Leave and Related Motion for Creation of Separate

Government Case Track [Rec. Doc. 505]; Renewed Ex Parte Motion for Hearing on Motion to

Create Government Track [Rec. Doc. 987]; In re State of Louisiana, No. 11-30178 (Petition for

Writ of Mandamus or Prohibition (filed 2/2/11) and State of Louisiana’s Reply to Plaintiff

Steering Committee’s Response to Petition for Writ of Mandamus (filed 4/8/11)).




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       Given the PSC’s propensity to interpret the submitted Order expansively, in contradiction

of its plain language, the Court should require that the PSC re-submit an order that specifically

addresses, at a minimum, the scenarios described above so that the State and other parties are not

required to respond to a moving target of “interpretation,” rather than an order. Accordingly, for

the reasons set forth herein, the State of Louisiana requests that the current Order not be entered

and that the Court direct the PSC to submit a revised Order that expressly addresses and sets

forth the PSC’s positions on the treatment and proposed assessment of recoveries, including but

not limited to the scenarios identified above, so that the State of Louisiana, and any other party,

may properly respond.

Dated this 23rd day of November, 2011.

Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing Motion for Leave and Proposed Response to

The PSC’s Reply in Support of Motion To Establish Account And Reserve For Litigation

Expenses has been served on All Counsel by electronically uploading the same to Lexis Nexis

File & Serve in accordance with Pretrial Order No. 12, and the foregoing was electronically filed

with the Clerk of Court of the United States District Court for the Eastern District of Louisiana

by using the CM/ECF System, which will send a notice of electronic filing in accordance with

the procedures established in MDL 2179, on this 23rd day of November, 2011.

                                                   Kanner & Whiteley, L.L.C.


                                                   _/s/ Allan Kanner_____________________
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